   Case 2:23-cv-07296-NJB-KWR              Document 158        Filed 02/19/25      Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 JOY BANNER, Ph.D.                                                     CIVIL ACTION


 VERSUS                                                                CASE NO. 23-7296


 ST. JOHN THE BAPTIST PARISH, et al.                                   SECTION: “G”

                                    ORDER AND REASONS

       Before the Court is Plaintiff Joy Banner, Ph.D.’s Motion for Leave to Interview Jurors. 1

Defendants oppose the motion. 2 Having considered the motion, the memoranda in support, and in

opposition, the record, and the applicable law, for the reasons that follow, the Court denies the

motion.

                                          I. Background

       The Court conducted a jury trial in this matter from January 27, 2025 to January 29, 2025.

The jury found in favor of Defendants St. John the Baptist Parish, Michael Wright, and Jaclyn

Hotard (collectively “Defendants”), 3 and the Court entered judgment on the verdict. After the jury

verdict was read, the courtroom deputy polled the jury. Each of the jurors confirmed that the verdict

was accurately delivered. The Court then excused the jury. On February 4, 2025, Plaintiff filed the

instant motion. 4 On February 11, 2025, Defendants filed an opposition to the motion. 5




       1
           Rec. Doc. 155.
       2
           Rec. Doc. 156.
       3
           Rec. Doc. 151.
       4
           Rec. Doc. 155.
       5
           Rec. Doc. 156.
     Case 2:23-cv-07296-NJB-KWR             Document 158         Filed 02/19/25       Page 2 of 5




                                       II. Parties’ Arguments

A.     Plaintiff’s Argument in Support of the Motion

       Plaintiff requests leave of Court to interview jurors in this matter. While the Fifth Circuit

has generally disfavored post-verdict interviewing of jurors, Plaintiff points out that at least one

juror has already voluntarily spoken to the media regarding the verdict. 6 Plaintiff states other jurors

may also be willing to discuss the matter. 7 Plaintiff proposed the following protocols regarding the

juror interviews: (1) the parties may contact jurors by telephone or email to request to interview

them; (2) no party may approach a juror about the matter in person; and (3) if a juror expresses a

desire not to be interviewed, the party shall promptly terminate contact and not make further

contact about the matter. 8

B.     Defendants’ Argument in Opposition to the Motion

       Defendants oppose the motion. Defendants argue federal courts largely disfavor post-

verdict interviews of jurors except in extreme circumstances. 9 Defendants contend Plaintiff has

failed to raise any interest that would outweigh the jurors’ interest in privacy and the public’s

interest in well-administered justice. 10 Defendants aver Plaintiff has failed to provide any authority

to support her request. 11 Defendants assert the motion should be denied. 12




       6
           Rec. Doc. 155-1 at 1.
       7
           Id.
       8
           Id. at 2.
       9
           Rec. Doc. 156 at 1.
       10
            Id. at 2.
       11
            Id.
       12
            Id.
    Case 2:23-cv-07296-NJB-KWR                  Document 158           Filed 02/19/25        Page 3 of 5




                                           III. Law and Analysis

        Rule 47.5 of the Local Civil Rules of this Court provides:

        (A) A juror has no obligation to speak to any person about any case and may refuse
        all interviews or requests for comments.
        (B) Attorneys and parties to an action, or anyone acting on their behalf, are
        prohibited from speaking with, examining or interviewing any juror regarding the
        proceedings, except with leave of court. If leave of court is granted, it shall be
        conducted only as specifically directed by the court.
        (C) No person may make repeated requests to interview or question a juror after the
        juror has expressed a desire not to be interviewed. 13


In Haeberle v. Texas Int’l Airlines, the Fifth Circuit explained the policy reasons for limiting

contact with jurors as follows:

        Federal courts have generally disfavored post-verdict interviewing of jurors. We
        have repeatedly refused to denigrate jury trials by afterwards ransacking the jurors
        in search of some new ground, not previously supported by evidence, for a new
        trial.
        Prohibiting post-verdict interviews protects the jury from an effort to find grounds
        for post-verdict charges of misconduct, reduces the chances and temptations for
        tampering with the jury, increases the certainty of civil trials, and spares the district
        courts time-consuming and futile proceedings. We have therefore uniformly
        refused to upset the denial of leave to interview jurors for the purpose of obtaining
        evidence of improprieties in the deliberations unless specific evidence of
        misconduct was shown by testimony or affidavit. 14


        In Haeberle, the court acknowledged that when attorneys seek to “satisfy their own

curiosity and to improve their techniques of advocacy,” their interests “carr[y] far less weight in

the first amendment scale.” 15 The Court held, “[t]he first-amendment interests of both the

disgruntled litigant and its counsel in interviewing jurors in order to satisfy their curiosity and



        13
             Local Rule 47.5.
        14
          Haeberle v. Texas Int’l Airlines, 739 F.2d 1019, 1021 (5th Cir. 1984) (citations and internal quotation
marks omitted).
        15
             Id. at 1022.
    Case 2:23-cv-07296-NJB-KWR                      Document 158             Filed 02/19/25          Page 4 of 5




improve their advocacy are ... plainly outweighed by the jurors’ interest in privacy and the public’s

interest in well-administered justice.” 16 Relying on Haeberle, courts in this district have

consistently denied attorney requests to contact jurors. 17

         In this case, like Haeberle, Plaintiff notes no evidence of misconduct or impropriety in

connection with jury deliberations, and the Court knows of none. Plaintiff fails to provide a

purpose for the requested juror interviews. While at least one juror has provided comments to the

media, the Fifth Circuit in Haeberle stressed the importance of the “public’s interest in well-

administered justice,” the “certainty of civil trials,” and sparing the district courts from “time-

consuming and futile proceedings.” 18 These policy considerations support denial of Plaintiff’s

request to contact jurors.

         The Court also notes that Rule 606 of the Federal Rules of Evidence provides:

         (1) Prohibited Testimony or Other Evidence.
         During an inquiry into the validity of a verdict or indictment, a juror may not testify
         about any statement made or incident that occurred during the jury’s deliberations;
         the effect of anything on that juror’s or another juror’s vote; or any juror’s mental
         processes concerning the verdict or indictment. The court may not receive a juror’s
         affidavit or evidence of a juror’s statement on these matters.
         (2) Exceptions. A juror may testify about whether:
         (A) extraneous prejudicial information was improperly brought to the jury’s
         attention;
         (B) an outside influence was improperly brought to bear on any juror; or



         16
              Id.
         17
            See, e.g., Smith v. Kansa Tech., L.L.C., No. CV 16-16597, 2018 WL 3208035, at *1 (E.D. La. June 28,
2018) (Africk, J.) (denying request to interview jurors to “obtain any additional information that may or may not
support a finding of a jury taint along with evidentiary issues”); Abel v. Ochsner Clinic Found., No. CIV.A 06-8517,
2010 WL 1552823, at *1 (E.D. La. Apr. 15, 2010) (Vance, J.) (denying request of a defendant in a slip-and-fall case
when defendant represented “information from the[ ] jurors w[ould] assist it in understanding the public's expectations
for healthcare delivery involving patients at risk for falls”); Rouillier v. Illinois Cent. Gulf R.R., No. CIV.A. 87-0677,
1988 WL 72866, at *2 (E.D. La. July 5, 1988) (Schwartz, J.) (denying a request to contact jurors as a “thinly veiled
‘fishing expedition’) (quoting United States v. Riley, 544 F.2d 237, 242 (5th Cir. 1976), cert. denied, 430 U.S. 932
(1977)).
         18
              739 F.2d at 1021, 1022.
   Case 2:23-cv-07296-NJB-KWR               Document 158       Filed 02/19/25    Page 5 of 5




       (C) a mistake was made in entering the verdict on the verdict form. 19

       There are no indications that any of these exceptions apply. For these reasons, the Court

must deny Plaintiff’s request to interview jurors in this matter. Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to Interview Jurors 20 is

DENIED.

       NEW ORLEANS, LOUISIANA, this ____
                                    19th day of February, 2025.




                                                     ________________________________
                                                     NANNETTE JOLIVETTE BROWN
                                                     CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT




       19
            Federal Rule of Evidence 606.
       20
            Rec. Doc. 155.
